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                                UNITED STATES DISTRICT COURT
8                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10
      LOIS HILL DESIGNS, LLC, a Delaware
11    Limited Liability Company,                       No. 2:20-cv-01403-RSL

12                             Plaintiff,              STIPULATED MOTION AND
                                                       ORDER REGARDING BRIEFING
13             v.                                      SCHEDULE ON CROSS MOTIONS
                                                       FOR SUMMARY JUDGMENT
14    UNIQUE DESIGNS, INC., a New York
      Corporation,
15
                               Defendant.
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17
                                              STIPULATION
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            On October 6, 2021, this Court approved a stipulation and proposed order amending the
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     case schedule. See Dkt. No. 23. That stipulation and order set a briefing schedule for Cross
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     Motions for Summary Judgment regarding enforceability of a settlement agreement. Id. at 2.
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            On November 5 and 8, 2021, plaintiff/counterclaim defendant Lois Hill Designs LLC and
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     defendant/counterclaim plaintiff Unique Designs, Inc., respectively, produced additional
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     discovery that bears upon the anticipated Cross Motions for Summary Judgment. To permit the
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     Parties sufficient time to address this recently produced discovery, the Parties request that the
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     Court make a slight adjustment to the briefing schedule on the anticipated Cross Motions for
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     STIPULATED MOTION AND [PROPOSED] ORDER
     REGARDING BRIEFING SCHEDULE ON CROSS
     MOTIONS FOR SUMMARY JUDGMENT
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                  Case 2:20-cv-01403-RSL Document 25 Filed 11/10/21 Page 2 of 3



 1 Summary Judgment. Accordingly, and consistent with LCR 7(k), the Parties stipulate and agree

 2 as follows:

 3           1.       The Parties shall file their Cross Motions for Summary Judgment on November

 4 16, 2021. The Parties shall note their Cross Motions for Summary Judgment for December 10,

 5 2021.

 6           2.       Each party shall file its response to the opposing party’s Cross Motion for

 7 Summary Judgment on December 10, 2021.

 8           3.       No rebuttals or replies to the response briefs shall be permitted. In recognition of

 9 the agreed briefing schedules foregoing reply briefs, the Parties request that the page limit for

10 each response brief be enlarged from 24 pages to 30 pages as contemplated in LCR 7(k) and

11 previously approved by this Court. See Dkt No. 23 at 2.

12           4.       The remaining deadlines in the case schedule shall remain as previously ordered.

13 See id.

14
     DATED: November 9, 2021.
15

16   BARRETT & GILMAN                                  ARETE LAW GROUP PLLC
17
     By: /s/ Thomas L. Gilman                          By: /s/ Jeremy E. Roller
18   Thomas L. Gilman, WSBA No. 8432                   Jeremy E. Roller, WSBA No. 32021
     1000 Second Avenue, Suite 1430                    1218 Third Avenue, Suite 2100
19   Seattle, WA 98104                                 Seattle, WA 98101
     Phone: (206) 464-1900                             Phone: (206) 428-3250
20
     Fax: (888) 471-7798                               Fax: (206) 428-3251
21   tgilman@bgseattle.com                             jroller@aretelaw.com

22   Attorneys for Plaintiff/Counterclaim              Attorneys for Defendant/Counterclaim
     Defendant Lois Hill Designs, LLC                  Plaintiff Unique Designs, Inc.
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     STIPULATED MOTION AND [PROPOSED] ORDER
     REGARDING BRIEFING SCHEDULE ON CROSS
     MOTIONS FOR SUMMARY JUDGMENT
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1                                     ORDER

2         IT IS SO ORDERED.

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4         DATED: November 10, 2021.

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                                            Hon. Robert S. Lasnik
6                                           United States District Judge
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     STIPULATED MOTION AND [PROPOSED] ORDER
     REGARDING BRIEFING SCHEDULE ON CROSS
     MOTIONS FOR SUMMARY JUDGMENT
     No. 2:20-cv-01403-RSL – Page 3
